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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION

    UNITED STATES OF AMERICA

    v.                                                 Case No. 3:02-cr-233-J-32MCR

    ALGIE MOORE


                                         ORDER

          This case is before the Court on Defendant Algie Moore’s Motion for

    Sentence Reduction Pursuant to the First Step Act of 2018. (Doc. 124). In the

    motion, Moore argues, through counsel, that he is eligible for a sentence

    reduction with respect to his conviction on Count Two: possession of a detectable

    amount of cocaine base with intent to distribute, in violation 21 U.S.C. §§ 841(a)

    and (b)(1)(C) (2002). (See Doc. 56). 1 The Government contends that Moore is

    ineligible for relief because, based on the amount of crack cocaine attributed to

    him, his statutory penalties are the same. (Doc. 125).

          Section 404 of the First Step Act of 2018, Pub. L. No. 115-391, 132 Stat.

    5194, made retroactive the reduction in statutory penalties implemented by the

    Fair Sentencing Act of 2010, Pub. L. No. 111-220, 124 Stat. 2372. “The [Fair



    1     Moore was also convicted of possession of a firearm by a convicted felon (Count
    Three of the indictment) and possession of a firearm in relation to a drug trafficking
    crime (Count Four). (Id.). The Court sentenced Moore to a total term of 322 months in
    prison, consisting of concurrent terms of 262 months and 120 months as to Counts
    Two and Three, respectively, and a consecutive term of 60 months as to Count Four.
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    Sentencing] Act increased the § 841(b) drug amounts triggering the statutory

    penalties under § 841(b)(1)(B) from 5 to 28 grams or more of crack cocaine and

    the statutory penalties under § 841(b)(1)(A) from 50 to 280 grams or more of

    crack cocaine. [It] did not expressly make any changes to § 841(b)(1)(C) . . . .”

    United States v. Harris, 807 F. App’x 896, 897 (11th Cir. 2020).

          Central to Moore’s argument is the contention that because “Mr. Moore

    was sentenced for a violation of a statute amended by the Fair Sentencing Act,

    the First Step Act provides the statutory authority for this Court to reduce his

    sentence.” (Doc. 124 at 6). Moore recognizes that the Fair Sentencing Act did

    not expressly amend § 841(b)(1)(C). Instead, he reasons that the Fair

    Sentencing Act implicitly did so because by increasing the minimum crack

    cocaine quantity required for § 841(b)(1)(B)’s penalty provision from 5 grams to

    28 grams, the law increased the ceiling quantity for § 841(b)(1)(C) to anything

    below 28 grams. (See Doc. 124 at 6-12). Thus, Moore contends that the Fair

    Sentencing Act amended § 841(b)(1)(C) as well, such that Moore’s crime is a

    covered offense.

          In United States v. Jones, 962 F.3d 1290 (11th Cir. 2020), the Eleventh

    Circuit held that “[a] movant's offense is a covered offense if section two or three

    of the Fair Sentencing Act modified its statutory penalties. Section two of the

    Fair Sentencing Act, the only section applicable [here], modified the statutory

    penalties for crack-cocaine offenses that have as an element the quantity of


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    crack cocaine provided in subsections 841(b)(1)(A)(iii) and (B)(iii).” Id. at 1298.

    Notably, the court wrote that the First Step Act’s definition of a covered offense

    “refers to the crack-cocaine offenses for which sections 841(b)(1)(A)(iii) and

    (B)(iii) provide the penalties. Those provisions are two of the statutory

    provisions that apply to violations of section 841(a), and they are the only

    provisions that the Fair Sentencing Act modified.” Id. at 1300 (emphasis added).

    Thus, according to the Eleventh Circuit, a movant “committed a covered

    offense” if “the movant’s offense triggered the higher penalties in section

    841(b)(1)(A)(iii) or (B)(iii).” Id. at 1301. Consequently, a conviction involving

    only a detectable amount of crack cocaine under § 841(b)(1)(C) is not a covered

    offense. See id. at 1302 (“Moreover, taken to its logical end, the movants’

    argument would mean that a movant convicted before Apprendi is ineligible for

    relief under the First Step Act because the Fair Sentencing Act did not modify

    the statutory penalties for offenses involving only a detectable amount of crack

    cocaine.”). Indeed, the Eleventh Circuit has repeatedly rejected the argument

    that a crack-cocaine conviction under § 841(b)(1)(C) is a covered offense within

    the meaning of Section 404 of the First Step Act. United States v. Beltran, —

    F. App’x —, 2020 WL 5290514, at *2 (11th Cir. Sep. 4, 2020); United States v.




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    Cunningham, — F. App’x —, 2020 WL 4932285, at *2 (11th Cir. Aug. 24, 2020);

    United States v. Foley, 798 F. App’x 534, 536 (11th Cir. 2020). 2

          Because Moore’s conviction for Count Two (possession with intent to

    distribute a detectable amount of crack cocaine) fell under 21 U.S.C. §

    841(b)(1)(C), it is not a covered offense under § 404(a) of the First Step Act.

          Accordingly, it is hereby ORDERED:

          Defendant Algie Moore’s Motion for Sentence Reduction Pursuant to the

    First Step Act of 2018 (Doc. 124) is DENIED.

          DONE AND ORDERED in Jacksonville, Florida this 24th day of

    September, 2020.




                                                       TIMOTHY J. CORRIGAN
                                                       United States District Judge


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    Copies:

    Craig Robert Gestring, AUSA
    Juliann Welch, Esquire
    U.S. Probation
    U.S. Pretrial Services
    U.S. Marshals Service
    Defendant




    2      Although the defendant-appellant in Foley was pro se, the defendant-appellants
    in Beltran and Cunningham were represented by counsel.


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